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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF LOUISIANA

                                                §
    IN RE:                                      §      CASE NO: 17-12870
                                                §
    REILLY-BENTON COMPANY, INC.,                §      CHAPTER 7
                                                §
    DEBTOR.                                     §      SECTION A
                                                §

                                             ORDER

          On Friday, September 9, 2022, this Court issued an Order, [ECF Doc. 272], granting the

   ex parte Motion for Expedited Hearing on Motion To Compel and Overrule Objections of

   Louisiana Insurance Guaranty Association (the “Motion to Expedite”), [ECF Doc. 248], filed by

   Roussel & Clement Creditors, setting the pleading filed at ECF Doc. 246 for hearing on

   Wednesday, September 14, 2022.

          IT IS ORDERED that Louisiana Insurance Guarantee Association has until Tuesday,

   September 13, 2022, at 12:00 P.M. to file a reply brief in support of Louisiana Insurance

   Guaranty Association’s Motion To Quash or Alternatively, for Protective Order and Incorporated

   Memorandum in Support, [ECF Doc. 229], and in response to the pleading filed at ECF Doc. 246.

          New Orleans, Louisiana, September 9, 2022.



                                                    _____________________________________
                                                            MEREDITH S. GRABILL
                                                     UNITED STATES BANKRUPTCY JUDGE
